                            UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF NORTH CAROLINA



       NATIONAL ASSOCIATION FOR THE
       ADVANCEMENT OF COLORED PEOPLE,
       et al.,
                              Plaintiffs,
                                                                 Civil Action No. 1:20-CV-00613
               v.
       JERRY PETERMAN, et al.,                                   ORAL ARGUMENT REQUESTED


                              Defendants.


      BRIEF IN SUPPORT OF PLAINTIFFS’ SECOND MOTION FOR
 A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

                                NATURE OF THIS ACTION

       This action challenges Defendants’ policy and practice of prohibiting Plaintiffs and

countless others from protesting on and around the Alamance County Historic Courthouse

(“Courthouse”) grounds. Notwithstanding a history and tradition of protest there, in the

weeks since May 25, 2020—when the police killing of George Floyd sparked protests

against police brutality nationwide—Defendants have banned protest on the Courthouse

grounds; repeatedly erected barriers to close off the grounds; and issued emergency

declarations further restricting protest and movement there, including an order issued on

July 10 (“July 10 Order”) that remains in place today.

       Plaintiffs seek to gather and make themselves heard on the Courthouse grounds not

only because it is a traditional site of protest, but also because its location is central to their


                                                    1

      Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 1 of 27
anti-racist message. Plaintiffs specifically seek to protest the continued presence of a

Confederate monument in front of the Courthouse, as well as the glorification of slavery,

white supremacy, and the racial oppression of Black people in Alamance County that the

monument represents.

       For nearly sixty years, the Supreme Court has recognized that the grounds of

government buildings that are generally accessible and have historically been used for

expressive activity are traditional public forums. See Edwards v. South Carolina, 372 U.S.

229, 235 (1963). And for nearly forty years, the Supreme Court has specifically recognized

that the sidewalk abutting a courthouse is a traditional public forum. See United States v.

Grace, 461 U.S. 171, 180 (1983). Defendants are therefore unconstitutionally restricting

Plaintiffs’ First Amendment rights to speak and assemble in a traditional public forum.

       Plaintiffs wish to protest on the Courthouse grounds this coming weekend. In light

of the ongoing and imminent irreparable harm they face—including as reflected in

Defendants’ recent arrests of peaceful protesters near the Courthouse—Plaintiffs

respectfully request that this Court enter a temporary restraining order and preliminary

injunction against Defendants’ policy, practice, and July 10 Order banning protest at the

Courthouse grounds.

                                 FACTUAL BACKGROUND

   I. The Courthouse

       The Courthouse is located in the heart of downtown Graham (the “City”), and is the

center of civic life in the City and Alamance County. It features prominent steps on each


                                                2

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 2 of 27
of its four sides, and is surrounded by grassy lawns, a sidewalk, and a rotary called “Court

Square.” See Ex. 1 (Second Dodd Decl.) ¶¶ 2–3 (photos depicting Courthouse grounds);

Ex. 2 (Second Brown Decl.) ¶ 7. People walk through the Square and along the sidewalk

not only to get to the Courthouse, but also as a route to get to other locations around the

City. Id. ¶ 17.

         The Courthouse grounds—including the steps, sidewalk, and monument—have

long served as a site of protest. People have traditionally gathered there to protest and

make speeches on matters of public concern. For example, large numbers of people

supporting Confederate symbols rallied on the steps and around the Confederate

monument on July 18, 2015 and May 20, 2017. See Ex. 3 (Hosterman Decl.) ¶¶ 3–7;

Thousands attend pro-Confederate rally in Alamance County, ABC11 (July 18, 2015),

https://abc11.com/pro-confederate-rally-alamance-county-confederate-flag-pro/862029/.

Plaintiff NAACP has also held multiple demonstrations on the Courthouse steps,

including a rally for voting rights in 2016. Ex. 2 ¶ 18. And Plaintiff Turner participated in

marches and parades on the Courthouse grounds, including in Court Square, throughout

high school. DE 2-3 (Turner Decl.) ¶ 2.

   II.      The Confederate Monument and Plaintiffs’ Protests

         On the north side of the Courthouse stands a Confederate monument. It sits in a

landscaped square set off by concrete curbs. Ex. 1 ¶¶ 3–4; Ex. 2 ¶¶ 7–8. A brick sidewalk

runs adjacent to the monument; it connects to the Courthouse sidewalk at one end and to




                                                 3

      Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 3 of 27
crosswalks to the corners of Court Square at the other. Id. ¶ 7. Pedestrians regularly use the

designated crosswalk to cross through the Square. Id. ¶ 17.

       The monument was erected in 1914 as a result of a coordinated statewide effort by

the United Daughters of the Confederacy (“UDC”). Through placing these monuments in

public squares around the state, the UDC sought to vindicate and glorify the Confederacy

and to promote the “Lost Cause” mythology, a false historical narrative that downplayed

the harm and significance of slavery and promoted racial segregation and white supremacy.

See DE 2-2 (Kersey Decl.) ¶ 7; see also Karen L. Cox, The Whole Point of Confederate

Monuments Is to Celebrate White Supremacy, Washington Post (Aug. 16, 2017),

https://www.washingtonpost.com/news/posteverything/wp/2017/08/16/the-whole-point-

of-confederate-monuments-is-to-celebrate-white-supremacy/.

       The monument marks the spot where Graham’s first Black city councilman, Wyatt

Outlaw, was lynched by Alamance County’s branch of the Ku Klux Klan in 1870. See

Tammy Grubb, No Plan to Move Alamance County Confederate Marker, Despite

Burlington,     Elon     Request,     News       &     Observer      (June     29,     2020),

https://www.newsobserver.com/news/local/article243868472.html (updated July 2, 2020).

The branch’s founder, Confederate veteran Jacob A. Long, spoke at the monument’s May

1914 dedication, telling those in attendance that they shared “a common interest: to recall

the achievements of the great and good of our own race and blood.” Id.

       Today, Plaintiffs oppose the continued presence of the Confederate monument on

the Courthouse grounds. They also seek to protest police brutality against Black people


                                                 4

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 4 of 27
and communities of color nationwide and in Alamance County. See, e.g., DE 2-1 (NAACP

Decl.) ¶¶ 4, 6; DE 2-3 ¶¶ 5–6; DE 2-4 (Dodd Decl.) ¶ 3; DE 2-8 (Simpson Decl) ¶¶ 13–15,

18; Ex. 2 ¶¶ 4, 6, 20; Ex. 4 (Second Clarke Decl.) ¶ 2; Ex. 5 (Second Rivera Decl.) ¶ 3; Ex.

6 (Second Rose Decl.) ¶ 2; Ex. 7 (Second Turner Decl.) ¶ 2.

       Plaintiffs have specifically sought to hold their protests on the sidewalk beside the

monument, and the sidewalk, grassy areas, and steps of the Courthouse. See, e.g., DE 2-3

¶¶ 7–15; DE 2-4 ¶¶ 3, 5, 8, 12, 14; DE 2-5 (Clarke Decl.) ¶ 14; DE 2-8 ¶¶ 2–11; Ex. 2 ¶¶

6–8; Ex. 8 (Second Drumwright Decl.) ¶¶ 2, 4, 5. That location is central to their message

of opposition to the Confederate monument’s continued presence. They also seek to protest

there because of the location’s history and tradition of protest and its proximity to a seat of

government power. See, e.g., DE 2-7 (Rose Decl.) ¶ 22. They plan to protest there this

Saturday, August 2, 2020. See, e.g., Ex. 2 ¶ 20; Ex. 4 ¶ 3; Ex. 5 ¶ 4; Ex. 6 ¶ 3; Ex. 7 ¶ 3.

   III.   Defendants’ Prohibitions on Protest at the Courthouse

       Defendants currently have a policy and practice of prohibiting protest at or near the

Courthouse. They have told individuals, including Plaintiff Simpson, that no protests are

allowed on Courthouse grounds. DE 2-8 ¶¶ 2–11. And when protesters, including Plaintiff

Turner, have requested permission in advance to protest on the Courthouse grounds, that

permission has been denied. DE 2-3 ¶¶ 7–15. Alamance County Sheriff deputies and

Graham police officers have also ordered individuals, including Plaintiff Dodd, off of the

Courthouse sidewalks. DE 2-4 ¶¶ 6–9. They have arrested others, including NAACP




                                                  5

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 5 of 27
President Barrett Brown and a protester at Plaintiff Drumwright’s July 11 rally, for

protesting on the sidewalk surrounding the monument. See Ex. 2 ¶¶ 9–10; Ex. 8 ¶ 6.

         In addition, since the nationwide protests against police brutality began, Defendant

Johnson has repeatedly surrounded the Confederate monument and, at times, the

Courthouse, with physical barriers—including sawhorses, deputies, and patrol vehicles—

thereby obstructing access to (and protest on) the sidewalk and steps of the Courthouse, as

well as the sidewalk surrounding the monument. See, e.g., Ex. 1 ¶¶ 2–4; Ex. 8 ¶ 2.

Defendants blocked access in this way on at least June 27, July 4, July 11, and July 25,

2020. See Ex. 1 ¶¶ 2–4; Ex. 2 ¶ 8; Ex. 8 ¶ 2.

   IV.      State of Emergency Declarations

         Since the nationwide anti-policy-brutality protests began, Defendants have also

been regularly issuing and enforcing “State of Emergency Declarations” that suppress

protests at or near the Courthouse, despite the absence of any threatened or actual civil

unrest, damage to property, or injury within City limits. See, e.g., Ex. 2 ¶ 18; Ex. 8 ¶ 4.

         May 31 – June 1 Order

         On May 31, Defendant Peterman issued the first such order, stating that it was “due

to the potential for damage or injury, due to civil unrest.” DE 27-2. Yet he did not cite any

examples of threatened or actual civil unrest, damage to property, or injury within City

limits. Id. The May 31 order included the following restrictions:

         (a) Restricted Access: It shall be unlawful to disobey any barriers, warning
             signs or other structures that restrict vehicular or pedestrian travel due to
             road closure, detours, hazards, etc.


                                                    6

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 6 of 27
       (b) Furthermore, this declaration denies or restricts access to areas, streets,
           highways or locations within the City in which that restriction or denial
           of access or use is reasonably necessary to promote efforts being made to
           overcome the emergency or to prevent further aggravation of the
           emergency.
Id. This order restricted access to City streets and the Courthouse grounds at

Defendants’ discretion.

       On May 31, the Mayor amended the order to include the following additional terms:

       (a) A curfew of 9 p.m. with the exception of Public Safety personnel,
           Doctors, Nurses and such other classes of persons as may be essential to
           the preservation of public order and immediately necessary to serve
           safety, health and welfare needs of the people within the City;

       (b) A prohibition against travel to or within the Fire Limits as prescribed in
           Section 6-31 of the City of Graham Code of Ordinances;

       (c) A prohibition against the possession, transportation, sale, purchase, and
           consumption of alcoholic beverages away from one’s own premises;

       (d) A prohibition against the use of dangerous weapons and substances
           unless permitted or exempted by Section 2-54(4) of the City of Graham
           Code of Ordinances or application General Statute.
DE 27-3. On June 1, 2020, the Mayor lifted the order and curfew.

       June 4 – June 9 Order

       On June 4, 2020 at 9:01 p.m., Defendant Peterman issued the second order

restricting people’s movement “due to the potential for widespread or severe

damage, injury, loss of life or property due to civil unrest.” DE 27-4. Again, he did

not cite any examples of threatened or actual civil unrest, damage to property, or

injury within City limits. Id. The order stated that it would “remain in effect until

June 9 at 6am unless it is rescinded prior.” Id.



                                                   7

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 7 of 27
       The June 4 order’s restrictions and conditions were identical to the May 31–

June 1 amended order—including a nightly curfew and restrictions on movement

throughout the City—except that the curfew lasted from 9 p.m. to 6 a.m., and

“citizens traveling to or from places of employment” were exempted. Id.

       On June 5, 2020, the City posted an “FAQ sheet” about the curfew and order

to its website. DE 27-5. The FAQ added the following restrictions:

       (a) The curfew prohibits anyone within the City of Graham, between the
           hours of 9 p.m. and 6 a.m., from gathering or demonstrating on any public
           street, sidewalk, or public property.

       (b) It also prohibits travel upon any public street unless it is for the purpose
           of seeking medical care, food, or other necessities for yourself or a family
           member.

       (c) Violation of the curfew is punishable as a class 2 misdemeanor.

       (d) All businesses are permitted to remain open during the nightly curfew if
           they choose to do so.

       (e) Unnecessary additional travel or lingering in public space is prohibited.
Id.
       On June 5, 2020 at 4:52 p.m., the City posted a comment on its official Facebook

page, alongside a photo of the June 4 order, that “[p]reventative actions are being taken to

manage the potential for widespread damage, injury, or loss of life or property due to civil

unrest.” DE 27-6.

       That same evening, Defendant Peterman published the following message on the

City’s website, again with no identification of any “unrest” or emergency that was in fact

occurring or imminent:



                                                 8

      Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 8 of 27
         [A] State of Emergency does more than impose restrictions on human
         behavior, such as a curfew our residents must follow. This procedure legally
         sets into motion several behind the scenes processes the City can employ to
         ensure safety and security of all.

DE 27-7 at 1 (emphasis added). On June 9, the City posted to its website that the order had

been rescinded. DE 27-8.

         June 20 – June 22 Order

         On June 20, 2020, the City announced the third emergency order by Defendant

Peterman “due to the potential for widespread or severe damage, injury, loss of life or

property due to civil unrest.” DE 27-9. Once again, neither Defendant Peterman nor the

City cited any examples of imminent or actual civil unrest, damage to property, or injury

or loss of life within City limits. Id.

         The June 20 order included the following restrictions and conditions:

            a. A curfew of 9:00 pm with the exception of police officers, firefighters,
               doctors, nurses and such other classes of persons as may be essential
               to the preservation of public order and immediately necessary to serve
               the safety, health and welfare needs of the people within the City and
               citizens traveling to or from places of employment;

            b. [A] prohibition against the use of dangerous weapons and substances
               unless permitted or exempted by Section 2-54(4) of the City of
               Graham Code of Ordinances or applicable General Statute.

Id. On June 22, 2020, the City posted to its website that the order had been rescinded. DE

27-10.

         June 25 – June 29 Order

         On June 25, 2020, the City posted a press release to its website announcing a fourth

emergency order by Defendant Peterman, again purportedly “due to the potential for

                                                  9

      Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 9 of 27
widespread or severe damage, injury, loss of life or property due to civil unrest.” DE 27-

11. This order was identical to the June 20 order. Id. And again, neither Defendant

Peterman nor the City cited any examples of threatened or actual civil unrest, damage to

property, or injury or loss of life within City limits. Id.

       On June 26, 2020, at around 12:00 p.m.—soon after Plaintiffs Kersey and Turner

submitted their applications for protest permits to the City (DE 2-2 ¶ 5, DE 2-3 ¶ 7)—

Defendant Johnson posted the following to his official Facebook page: “[E]ffective June

26, 2020, no permits to protest in the city of Graham, NC to include the Alamance County

Courthouse have been granted, nor will be granted for the foreseeable future. Any group(s)

attempting to protest without a permit, will be in violation and subject to arrest.” DE 27-

12. A few hours later, he posted this update: “The Alamance County Sheriff’s Office DOES

NOT participate in the permitting process for the city of Graham, NC. We are assisting the

city of Graham, NC by providing them our social media platforms to help get the word out

of their decision, so the public may be so informed.” DE 27-13. When the Sheriff declared

a protest permit ban, the City had not yet done so.

       However, the next day, on June 27, 2020, the City posted an “Amended Declaration

of State of Emergency” to its website. DE 27-14. Under this amended order, the curfew

began at 8 p.m. instead of 9 p.m., and “the issuance of parade and demonstration [sic]” was

temporarily suspended “based on a clear and imminent threat to public safety.” Id.

       The City posted the following Media Release from the Graham Police Department

about the amended order:


                                                   10

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 10 of 27
         Graham Police Department has been receiving viable intelligence about a
         large group of individuals demonstrating at the historic courthouse located at
         the court-square on 06/27/2020. A peaceful protest was planned for this date,
         but a permit was denied. The coordinators of that event have since canceled
         their planned event. However, we found that another group of people were
         planning to come that were unrelated to the original group. The intel we
         received showed that the people had been involved with other protests in the
         state that had turned violent. In response to this potential threat we upstaffed
         to prepare for the large crowd and requested mutual aid from multiple
         agencies. The mayor also amended the current state of emergency to include
         a temporary suspension of the issuance of parade and demonstration permits
         due to the clear and imminent threat to public safety.

DE 27-15. On June 27, 2020, Defendants also placed barricades around the Courthouse

grounds, further restricting protesters’ access to the grounds. See Ex. 1 ¶ 2. On June 29,

2020 at 3:52 p.m., the City posted to its official Facebook page that the order had been

rescinded.

         July 10, 2020 Order

         On July 10, 2020, Defendant Peterman issued a fifth “Declaration of State of

Emergency” (“the July 10 Order”), covering the area outlined in red below, including the

Courthouse grounds, which stand in the circle in the center of the bottom third of the

restricted area:1




1
    City of Graham, July 10 Order, Facebook (July 10, 2020), https://perma.cc/9FKZ-9LK9.

                                                   11

       Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 11 of 27
       The July 10 Order made it “unlawful to disobey any barriers, warning signs or other

structures that restrict vehicular or pedestrian travel due to road closure, detours and/ or

hazardous conditions,” and “to use dangerous weapons and substances as those terms are

defined in N.C.G.S. 14-288.1 unless permitted or exempted by Section 2- 54(4) of the City

of Graham Code of Ordinances or applicable General Statute.” DE 27-16.

       As they had done previously, on July 11 and 12, 2020, Defendants placed barricades

around the Courthouse grounds, invoking the barrier provision of the Order and further

obstructing protesters’ access to the public land. Ex. 1 ¶ 4; Ex. 8 ¶ 3. At least one man was

arrested for walking past the barriers on July 11. Ex. 8 ¶ 6.




                                                 12

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 12 of 27
       On July 12, the City posted on its website “SOE – Rescinded”; however, the text of

that post reads: “Mayor Jerry Peterman has rescinded the Declaration of the State of

Emergency initiating the curfew for the City of Graham (June 29, 2020).” See Ex. 9.

Therefore, the July 10 Order remains in place.

       On July 25, 2020, Defendants again placed barricades on the Courthouse grounds,

including around the Confederate monument, limiting protester access. Barrett Brown, the

President of Plaintiff NAACP, and several other protesters were arrested for standing on

the sidewalk surrounding the Confederate monument. Ex. 2 ¶¶ 9–10.

                               QUESTIONS PRESENTED

   1. Do Plaintiffs demonstrate a likelihood of success on their claims that:

          a. Defendants’ policy and practice of prohibiting protest on the Courthouse

              grounds violates the First Amendment?;

          b. Defendants’ July 10 Order violates the First Amendment?

   2. Do Plaintiffs satisfy the other requirements for preliminary injunctive relief?

                                       ARGUMENT

       To obtain preliminary relief, Plaintiffs must demonstrate that they are likely to

succeed on the merits of their claim; they are likely to suffer irreparable harm if preliminary

relief is not granted; the equities favor preliminary relief; and such relief serves the public

interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); U.S. Dep’t of Labor

v. Wolf Run Mining Co., 452 F.3d 275, 281 n.1 (4th Cir. 2006). Plaintiffs satisfy each of

these requirements.


                                                 13

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 13 of 27
   I.        Plaintiffs are likely to succeed on the merits.

        Plaintiffs are likely to succeed on the merits of their claim because the Courthouse

grounds—including the sidewalks, steps, and grass surrounding the Courthouse and the

Confederate monument—constitute a traditional public forum, and Defendants’ policies,

practice, and repeated orders (including the still-in-effect July 10 Order) prohibiting protest

there do not satisfy heightened First Amendment scrutiny.

        A. The Courthouse grounds constitute a traditional public forum.

        “[C]ourts should evaluate First Amendment rights on government-owned property

under a public forum analysis.” Warren v. Fairfax Cnty., 196 F.3d 186, 190 (4th Cir. 1999)

(citing Ark. Educ. Television Com’n v. Forbes, 523 U.S. 666, 676 (1998) (“Ark. Educ.”)).

There are “three types of fora: the traditional public forum, the public forum created by

government designation, and the nonpublic forum.” Cornelius v. NAACP Legal Defense &

Ed. Fund, Inc., 473 U.S. 788, 802 (1985). First Amendment rights are at their zenith in

traditional public forums—that is, “public places historically associated with the free

exercise of expressive activities, such as streets, sidewalks, and parks[.]” United States v.

Grace, 461 U.S. 171, 177 (1983) (citations and marks omitted).

        i.      The Courthouse grounds are a quintessential traditional public forum.

        “Wherever the title of streets and parks may rest, they have immemorially been held

in trust for the use of the public and, time out of mind, have been used for purposes of

assembly, communicating thoughts between citizens, and discussing public questions.”

Hague v. Comm. for Indus. Org., 307 U.S. 496, 515 (1939). Indeed, “[s]uch use of the


                                                 14

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 14 of 27
streets and public places has, from ancient times, been a part of the privileges, immunities,

rights, and liberties of citizens.” Id. These traditional public forums do “not lose [their]

historically recognized character” simply because they abut a courthouse. Grace, 461 U.S.

at 180 (holding that the “public sidewalks forming the perimeter of the Supreme Court

grounds . . . are public forums and should be treated as such for First Amendment

purposes”). See also O’Connell v. Town of Burgaw, N.C., 262 F. Supp. 3d 316, 320

(E.D.N.C. 2017) (holding that “County Courthouse Square and its surrounding public

streets and sidewalks are traditional public fora”).

       As the Fourth Circuit has recognized, the Supreme Court has not “strictly limited

the traditional public forum category to streets, sidewalks, and parks.” Warren v. Fairfax

Cty., 196 F.3d 186, 192 (4th Cir. 1999). Rather, it has recognized everything from a leased

municipal theater, id. (citing Southeastern Promotions, Ltd. v. Conrad, 420 U.S. 546

(1975)); to a state fair, id. (citing Heffron v. Int’l Soc’y for Krishna Consciousness, Inc.,

452 U.S. 640 (1981)); to the grounds of a state capitol, as public forums, id. (citing

Edwards, 372 U.S. 229).

       Edwards v. South Carolina is particularly instructive. Considering the rights of

protesters to gather on state capitol grounds, the Supreme Court held that “assembl[ing] at

the site of the State Government and there peaceably express[ing] . . . grievances ‘to the

citizens of [the state], along with the [government]” constitutes “an exercise of . . . basic

constitutional rights in their most pristine and classic form.” 372 U.S. at 235 (footnote

omitted).


                                                 15

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 15 of 27
       Similarly, in Warren v. Fairfax County, the Fourth Circuit held that the sidewalk

and grassy areas outside of “a seat of legislative and/or executive power” are “typical

traditional public forum[s].” 196 F.3d at 190, 191. See also id. at 196 (“In general, the

grounds . . . of state and federal capitol complexes . . . have consistently been held to be

public fora.” (alterations in original; citations omitted)); Occupy Columbia v. Haley, 738

F.3d 107, 121–22 (4th Cir. 2013) (relying on Grace and Edwards to hold that “the area

outside of the State House [i]s a public forum for First Amendment purposes”).

       What was true of the public spaces in Grace, Edwards, Warren, and Occupy

Columbia is equally true of the Courthouse grounds in Graham: they surround a seat of

government power and have historically provided an area for public speech and assembly.

See also Smith v. Cty. of Albemarle, Va., 895 F.2d 953, 958–59 (4th Cir. 1990) (affirming

district court’s holding that courthouse lawn is either a traditional public forum or at least

a designated public forum in part because it is “the lawn in front of a seat of government,”

which “is similar to other settings found to be a traditional public forum”).

       ii.    A particularized inquiry also shows that the Courthouse grounds are a
              traditional public forum.

       “[A] court can generally treat a street, sidewalk, or park as a traditional public forum

without making a ‘particularized inquiry.’” Warren, 196 F.3d at 191 (quoting Frisby v.

Shultz, 487 U.S. 474, 481 (1988)). But even if the Court were to engage in a particularized

inquiry here, the Courthouse grounds would qualify as a traditional public forum.

       “The Court distinguishes between [types of] fora based upon the physical

characteristics of the property, including its location; the objective use and purposes of the

                                                 16

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 16 of 27
property; and government intent and policy with respect to the property, which may be

evidenced by its historic and traditional treatment.” Id. at 191 (footnote and citations

omitted); see also Ark. Educ., 523 U.S. at 677. Though “[n]one of these factors is

dispositive,” each is met here. Warren, 196 F.3d at 191.

       The physical characteristics and central location of the Courthouse grounds match

the Supreme Court’s description of a traditional public forum because they are “continually

open, often uncongested, and constitute[] not only a necessary conduit in the daily affairs

of a locality’s citizens, but also a place where people may enjoy the open air or the company

of friends and neighbors in a relaxed environment.” Heffron, 452 U.S. at 651. The

sidewalks around the Courthouse and the Confederate monument connect to streets and

crosswalks on all sides, and are regularly used by pedestrians and joggers. See Warren, 196

F.3d at 189 (holding that “the physical characteristics of a traditional public forum” include

“an open public thoroughfare”).

       The second factor to consider is whether the property’s “objective use is as a place

of open public access, which is eminently compatible with expressive activity.” Id. at 189–

90. The Courthouse has a variety of uses, including County Commission hearing rooms,

offices and courtrooms. See Ex. 2 ¶ 17. While all of the offices inside may not be open to

the public at all times, the character of a multi-use government building is inherently

public. See Lederman v. United States, 291 F.3d. 36, 41 (D.C. Cir. 2002) (holding that

“courts have long recognized that the Capitol Grounds as a whole meet the definition of a

traditional public forum”). Similarly, the Confederate monument is on the Courthouse


                                                 17

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 17 of 27
grounds and adjoins a public sidewalk, which invites and enables members of the public to

walk and gather around it.

       Moreover, “[t]he test is not whether the property was designed for expressive

activity, but whether the objective uses and purposes of the property are compatible with

the wide measure of expressive conduct characterizing public fora.” Warren, 196 F.3d at

195. See also id. (“[T]he traditional public fora of streets, sidewalks, and parks are not

primarily designed for expressive purposes”); Grayned v. City of Rockford, 408 U.S. 104,

116 (1972) (“The crucial question is whether the manner of expression is basically

incompatible with the normal activity of a particular place at a particular time.”).

       Here, the Courthouse sidewalk, steps, and grass, as well as the Confederate

monument and surrounding sidewalk, are clearly used for and compatible with expressive

conduct, as shown by their history as sites of protest and their location before a seat of

government power. See Warren, 196 F.3d at 190. Countless protests, rallies,

demonstrations, and other assemblies have occurred on the Courthouse grounds for more

than a century—from the initial dedication of the Confederate monument Plaintiffs now

seek to protest to more recent protests by those supporting Confederate symbols and

Plaintiffs themselves. See Ex. 2 ¶ 18; Ex. 3 ¶¶ 3–7; DE 2-3 ¶ 2.

       In sum, much like the area around the legislative and executive buildings the Fourth

Circuit considered in Warren and Occupy Columbia, the Courthouse grounds are

“outdoors, unenclosed, publicly accessible, and in fact open to the public.” Warren, 196

F.3d at 188. And, like the land at issue in Warren, the Courthouse grounds are “strikingly


                                                 18

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 18 of 27
similar to property already determined by the Supreme Court to be a traditional public

forum . . . and which, lying directly in front of a seat of government power, is part of a

class of property traditionally open to expressive activity.” Id. at 196.

       B. Defendants’ policy, practice, and July 10 Order prohibiting protest on
          Courthouse grounds fail heightened scrutiny.

       “A bedrock First Amendment principle is that citizens have a right to voice dissent

from government policies.” Occupy Columbia, 738 F.3d at 122 (quoting Tobey v. Jones,

706 F.3d 379, 391 (4th Cir.2013)). “‘[W]hen that speech takes place in a “quintessential

public forum,’ the ability “of the state to limit expressive activity are sharply

circumscribed.” Id. (quoting Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S.

37, 45 (1983)). In such a forum, “[t]he government’s ability to permissibly restrict

expressive conduct is very limited: the government may enforce reasonable time, place,

and manner regulations as long as the restrictions ‘are content-neutral, are narrowly tailored

to serve a significant government interest, and leave open ample alternative channels of

communication.’” Grace, 461 U.S. at 177 (quoting Perry, 460 U.S. at 45).

       To satisfy this standard, “the government is obliged to demonstrate that it actually

tried or considered less-speech-restrictive alternatives and that such alternatives were

inadequate to serve the government’s interest.” Billups v. City of Charleston, 961 F.3d 673,

688 (4th Cir. 2020). “Absent such a showing, [courts] cannot simply accept the City’s

assurances that [alternatives] … would be too difficult to enforce or would not sufficiently

safeguard its interest[.]” Id. at 689.




                                                 19

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 19 of 27
       Here, Defendants’ policy of prohibiting any protest on the Courthouse sidewalk,

steps, or grass, their practice of barricading the area off from protest, and their July 10

Order further restricting access to and around the Courthouse grounds cannot meet this

standard. In Warren, the Fourth Circuit held that a law banning non-residents from the

legislative and executive grounds was unconstitutional because it “serve[d] no compelling

interests and it [was] not narrowly tailored to achieve the interests that it does serve.” 196

F.3d at 190. The same is even more true here, where the ban applies not only to non-

residents, but to all protesters, and there is a history of protests occurring at the Courthouse

without incident.

       Even if Defendants could articulate a compelling interest, a complete ban on protest

at the Courthouse—whether through a blanket policy, the practice of erecting barriers, or

weekly orders restricting access under the guise of an “emergency”—would not be a

reasonably tailored solution. As the Supreme Court has recognized, a total ban on

expression on public sidewalks outside of a courthouse does not substantially serve any

government purpose. Grace, 461 U.S. at 182. A court need not “denigrate the necessity to

protect persons and property or to maintain proper order and decorum within the . . . Court

grounds” in order to “question whether a total ban on [protesting] on the public sidewalks

[in front of the Court] substantially serves these purposes.” Id. See also Cox v. City of

Charleston, 416 F.3d 281, 285 (4th Cir. 2005) (holding that an ordinance requiring a permit

for any gathering on public property violated the First Amendment in part because it

“significantly restricted a substantial quantity of speech that does not impede the


                                                  20

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 20 of 27
[government’s] permissible goals.”); Occupy, 738 F.3d at 125 (“[T]he right of the

protesters to assemble and speak out against the government on the State House grounds

in the absence of valid, time, place, and manner restrictions has been clearly established

since Edwards v. South Carolina.”); cf. Hoffman v. Hunt, 126 F.3d 575, 582 (4th Cir. 1997)

(recognizing that threatening protesters who were not obstructing or blocking access to or

egress from a building with arrest was unconstitutional).

       This analysis applies equally to the July 10 Order, which was improperly issued as

an “emergency” declaration. “Only when local law enforcement is no longer able to

maintain order and protect lives and property may the emergency powers be invoked.”

United States v. Chalk, 441 F.2d 1277, 1280 (4th Cir. 1971). Under state law, a declaration

of emergency must be based on an “occurrence or imminent threat of widespread or severe

damage, injury, or loss of life or property[.]” N.C. Gen. Stat. § 166A-19.3(6); see also N.C.

Gen. Stat. § 166A-19.22 (discussing municipal authority to issue emergency declarations).

Defendants were not facing any such emergency when Defendant Peterman invoked the

emergency powers on July 10. See Ex. 2 ¶ 18; Ex. 8 ¶ 4. While Defendant Peterman

generically stated that the state of emergency was necessary “due to an imminent threat of

widespread or severe damage, injury, loss of life [sic],” the Order does not set forth any

factual basis for its necessity, see DE 27-16.2 Defendants cannot simply cry “emergency!”


2
  Nor has Defendant Peterman offered such a factual basis for any of the repeated orders
he has issued nearly every weekend since late May 2020, see DE 27-2, 27-3, 27-4, 27-6,
27-7, 27-9, 27-11, 27-14. The most specific justification was for the June 27 Amended
Declaration—which set an 8 p.m. curfew and suspended the issuance of any permits during
the day based on “viable intelligence about a large group of individuals demonstrating at

                                                21

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 21 of 27
to avoid the constitutional scrutiny that applies to restrictions on speech in a traditional

public forum. See, e.g., Antietam Battlefield KOA v. Hogan, No. CV CCB-20-1130, 2020

WL 2556496, at *5, n.15 (D. Md. May 20, 2020) (refusing to apply Chalk to an executive

order where “civil control had [not] broken down to the point where emergency measures

[we]re necessary” (quoting Chalk, 441 F.2d at 1281)).

       Even under the Fourth Circuit’s emergency order caselaw, “the executive’s

decision that civil control has broken down to the point where emergency measures are

necessary is not conclusive or free from judicial review.” Chalk, 441 F.2d at 1281. Rather,

courts can consider “whether the mayor’s actions were taken in good faith and whether

there [was] some factual basis for his decision that the restrictions he imposed were

necessary to maintain order.” Id. at 1281 (citations omitted). Here, the answer to both

questions is “no.”

       In Chalk, the Fourth Circuit upheld an emergency declaration that came after weeks

of actual and threatened civil unrest—including a clash between police officers and more



the historic courthouse . . . [that] showed that the people [who were planning to come] had
been involved with other protests in the state that had turned violent.” See DE 27-14, DE
27-15. In other words, Defendant Peterman imposed an 8 p.m. curfew and complete ban
on any protest due to “intel” that people planned to protest on the Courthouse grounds, a
traditional public forum, and that some of them had been at protests in the past where other
individuals had engaged in violence. This cannot justify a complete ban on movement at
night and expression during the day. See, e.g., Collins v. Jordan, 110 F.3d 1363, 1372–73
(9th Cir. 1996); cf. Schleifer by Schleifer v. City of Charlottesville, 159 F.3d 843, 849, 852
(4th Cir. 1998) (upholding juvenile curfew because it was based on “information from
many sources,” including “a survey of public opinion, news reports, data from the United
States Department of Justice, national crime reports, and police reports,” and because it
specifically exempted First Amendment activity).

                                                 22

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 22 of 27
than 200 high school students that involved broken windows, damaged cars, and flying

missiles that a dispersal order failed to quell; “the unanimous recommendations of local,

state, and federal law enforcement officials”; and a number of brush fires and the discovery

of Molotov cocktails stored around the city. Id. at 1282–83. By contrast, there is no history

or evidence of civil unrest here. Rather than any real necessity, the July 10 Order—and the

orders that came before it—appear to have been motivated by distaste for Plaintiffs’

message or concerns about listeners’ reaction to that message—both constitutionally

impermissible bases.

       “As the Supreme Court has said in the First Amendment context, the government

‘must do more than simply posit the existence of the disease sought to be cured.’” Schleifer

by Schleifer v. City of Charlottesville, 159 F.3d 843, 849 (4th Cir. 1998) (quoting Turner

Broad. Sys., Inc. v. FCC, 512 U.S. 622, 664 (1994)). “It must demonstrate that the recited

harms are real, not merely conjectural, and that the regulation will in fact alleviate these

harms in a direct and material way.” Id (citing Turner, 512 U.S. at 664). Defendants cannot

make that demonstration here.

       Rather, Defendants have attempted to withdraw the Courthouse grounds as a

traditional public forum through three separate tools: a policy of prohibiting protest on the

Courthouse grounds, a practice of regularly barricading the grounds from public access,

and emergency orders further restricting movement near and around the Courthouse. This

they cannot do: the government “may not by its own ipse dixit destroy the ‘public forum’




                                                23

     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 23 of 27
status of streets and parks which have historically been public forums.” Grace, 461 U.S. at

180.

   II.      Plaintiffs are irreparably harmed.

         “[L]oss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976).

Without prompt relief, Plaintiffs will not be able to exercise their First Amendment

freedoms, including by protesting over the coming weekend.

   III.     The balance of equities and public interest favor preliminary relief.

         The balance of equities also weighs in favor of Plaintiffs. Defendants’ policy,

practice, and July 10 Order obstruct Plaintiffs’ exercise of their constitutional rights,

causing them great harm. Meanwhile, no harm will come to Defendants if Plaintiffs are

allowed to engage in protected speech. See Giovani Carandola, Ltd. v. Bason, 303 F.3d

507, 521 (4th Cir. 2002) (injunction of a likely unconstitutional law does not harm the

government). The balance therefore weighs in favor of preliminary injunctive relief, and

upholding constitutional rights “surely serves” the public interest. Id.



                                    CONCLUSION

         For the reasons stated, Plaintiffs’ Second Motion for a Temporary Restraining

Order and Preliminary Injunction should be granted.




                                                 24

       Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 24 of 27
Respectfully submitted,                          Dated: July 28, 2020

/s/ Kristi L. Graunke
 Kristi L. Graunke                               Vera Eidelman
 North Carolina Bar No. 51216                    New York Bar No. 5646088
 kgraunke@acluofnc.org                           veidelman@aclu.org
 Daniel K. Siegel                                Emerson Sykes
 North Carolina Bar No. 46397                    New York Bar No. 5020078
 dsiegel@acluofnc.org                            esykes@aclu.org
 ACLU of North Carolina                          ACLU Foundation
 P. O. Box 28004                                 125 Broad Street, 18th Floor
 Raleigh, NC 27611-8004                          New York, NY 10004
 Tel: 919-834-3466                               Tel: 212-549-2500

 /s/ Elizabeth Haddix                            /s/ C. Scott Holmes
 Elizabeth Haddix                                C. Scott Holmes
 North Carolina Bar No. 25818                    Lockamy Law Firm
 ehaddix@lawyerscommittee.org                    North Carolina State Bar No. 25569
 Mark Dorosin                                    scott.holmes@lockamylaw.com
 North Carolina Bar No. 20935                    3130 Hope Valley Road
 mdorosin@lawyerscommittee.org                   Durham, North Carolina 27707
 Lawyers’ Committee for Civil Rights Under Law   Tel: 919-401-5913
 P.O. Box 956
 Carrboro, NC 27510
 Tel. 919-914-6106
                                                 Counsel for Plaintiffs




                                           25

    Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 25 of 27
                         CERTIFICATE OF COMPLIANCE
       Relying on the word count function of Microsoft Word, I hereby certify that this

brief complies with the word limitations set forth in LR 7.3.


                                      /s/ Kristi L. Graunke
                                      Counsel for Plaintiffs




     Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 26 of 27
                            CERTIFICATE OF SERVICE

      I certify that on July 28, 2020, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will send notice to counsel for Defendants.



                                                        /s/ Kristi L. Graunke
                                                        Counsel for Plaintiffs




    Case 1:20-cv-00613-CCE-LPA Document 48 Filed 07/28/20 Page 27 of 27
